               Agreement dated October 31, 2020 by and between Steven Forkosh (“Forkosh”),


residing at 117 E., 57th Street #31H , New York, New York, 10022, The Blu Market, LLC (“The

Blu Market”), with offices at 400 Broome Street, New York, NY, Lisa Navarro (“Navarro”),

residing at 6065 Riverside Ave., Riverside CA 92506 and Espire Ads, LLC (“Espire”), with

offices at 3610 Central Avenue, Riverside, CA 92506. All entities make up (“The Company”)1.

       The parties have previously entered into an agreement dated August 27, 2020 regarding

their operations going forward (the “Agreement”).

       2.         The provisions of the Agreement were never effectuated.

       3.         The Agreement is hereby rescinded and is null and void.

       4.         Navarro shall have no right or obligations with respect to The Blu Market,

LLC or any other entity in which Steven Forkosh has an interest.

       5.        Forkosh shall have no rights or obligations with respect to Espire Ads, LLC or

any entity in which Navarro has an interest.

       6.        This agreement may be delivered by successful facsimile or e-mail or electronic

transmission, and a facsimile or e-mail or electronic copy signed by the parties shall have the

same force and effect as if same contained original signatures.




                                      ________________________________________
                                   Steven Forkosh, individually and on behalf of
                                      THE BLU MARKET, LLC

                        _________________________________________
                                   Lisa Navarro, individually and on behalf of
                                   ESPIRE ADS, LLC
